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                             Exhibit A
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                                                                      Register 22Actions and Party Information

   Register of Actions
    Filed by People      Case Number: 2020CR005250                                                           Division: 511
    Filed by Defendant      Case Type: Menacing                                                       Judicial Officer: Dinsmore Tuttle
    Filed by Court       Case Caption: The People of the State of Colorado v. Hernandez, Ashley       Court Location: El Paso County
    Filed by Probation                 Danielle



                                                               Filing                                                                     Document
    Filing ID            Date Filed    Authorizer Organization Party                 Document                   Document Title            Security

    N/A                  01/09/2025 N/A              N/A               N/A           Case Closed - Post         N/A
                                                                                     Judgment

    N/A                  01/09/2025 N/A              N/A               N/A           Minute Order - Print       N/A

    N/A                  01/09/2025 N/A              N/A               N/A           Probation Terminated       N/A

    N/A                  11/05/2024 N/A              N/A               N/A           Minute Order - Print       N/A

    N/A                  11/04/2024 N/A              N/A               N/A           Minute Order - Print       N/A

    N/A                  10/29/2024 N/A              N/A               N/A           Minute Order - Print       N/A
                         12:00 AM

    N/A                  09/20/2024 N/A              N/A               N/A           Minute Order - Print       N/A
                         12:00 AM

    N/A                  08/02/2024 N/A              N/A               N/A           Minute Order - Print       N/A
                         12:00 AM

    N/A                  06/10/2024 N/A              N/A               N/A           Minute Order - No Print    N/A
                         12:00 AM

    N/A                  06/05/2024 N/A              N/A               N/A           Minute Order - Print       N/A
                         12:00 AM

    N/A                  05/07/2024 N/A              N/A               N/A           Minute Order - Print       N/A
                         12:00 AM

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                                                         Filing                                                              Document
    Filing ID       Date Filed   Authorizer Organization Party          Document                 Document Title              Security

    BB52438AF93BB   04/29/2024 Yona Porat   Yona Porat       Ashley    Entry of Appearance       Entry of Appearance         Public
                    12:56 PM                Law LLC          Danielle
                                                             Hernandez

    N/A (Details)   04/22/2024 Dinsmore     El Paso          N/A        Order                    Order Re: Appointment of    Public
                    2:06 PM    Tuttle       County                                               Counsel at State Expense
                                                                                                 Other Than the Public
                                                                                                 Defender in a Criminal or
                                                                                                 Juvenile Delinquency
                                                                                                 Proceeding

    N/A             04/22/2024 N/A          N/A              N/A        Minute Order - Print     N/A
                    12:00 AM

    N/A             04/15/2024 N/A          N/A              N/A        Minute Order - Print     N/A
                    12:00 AM

    N/A             03/26/2024 N/A          N/A              N/A        Minute Order - Print     N/A
                    12:00 AM

    N/A (Details)   03/12/2024 Dinsmore     El Paso          N/A        Order                    Order Re: Appointment of    Public
                    8:50 AM    Tuttle       County                                               Counsel at State Expense
                                                                                                 Other Than the Public
                                                                                                 Defender in a Criminal or
                                                                                                 Juvenile Delinquency
                                                                                                 Proceeding

    N/A             03/11/2024 N/A          N/A              N/A        Reopen - Post Judgment   N/A
                    12:00 AM

    N/A             03/11/2024 N/A          N/A              N/A        Minute Order - Print     N/A
                    12:00 AM

    N/A (Details)   03/09/2024 Dinsmore     El Paso          N/A        Order                   Order:Motion to Withdraw-   Public
                    6:22 PM    Tuttle       County                                               Co-Defendant

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    2FE8D19173112   03/07/2024 Deana        Colorado        Ashley    Motion                  Motion to Withdraw- Co-   Public
                    12:12 PM   ORiley       Springs         Danielle                           Defendant
                                            Public          Hernandez
                                            Defenders
                                            Office

    N/A (Details)   03/06/2024 Dinsmore     El Paso         N/A         Order                 Order:COURT ORDER RE:     Protected
                    4:39 PM    Tuttle       County                                             PEOPLES VERIFIED
                                                                                               COMPLAINT AND MOTION
                                                                                               TO REVOKE
                                                                                               UNSUPERVISED
                                                                                               PROBATION

    N/A (Details)   03/06/2024 Non-Party    N/A             Non-Party   Letter                 Letter Regarding Senior   Public
                    2:04 PM                                                                    Judge Appointment

    N/A             02/25/2024 N/A          N/A             N/A         Mandatory Protection   N/A
                                                                        Order Vacated

    N/A             02/15/2024 N/A          N/A             N/A         Minute Order - Print   N/A

    N/A (Details)   02/13/2024 Erin L       El Paso         N/A         Order                  Order of Recusal          Public
                    9:41 AM    Sokol        County

    N/A (Details)   02/11/2024 Catherine    El Paso         N/A         Order                  Order of Recusal          Public
                    2:25 PM    Diane        County
                               Mitchell
                               Helton

    C89EA9EAE64A2   01/25/2024 Abigail   4th Judicial       The         Motion                 PEOPLES VERIFIED          Protected
                    3:25 PM    Ann Weber District           People of                          COMPLAINT AND MOTION
                                         Attorneys          the State                          TO REVOKE
                                         Office             of                                 UNSUPERVISED
                                                            Colorado                           PROBATION


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                                                         Filing                                                    Document
    Filing ID       Date Filed   Authorizer Organization Party        Document            Document Title           Security

                                                                      Proposed Order     COURT ORDER RE:          Protected
                                                                                          PEOPLES VERIFIED
                                                                                          COMPLAINT AND MOTION
                                                                                          TO REVOKE
                                                                                          UNSUPERVISED
                                                                                          PROBATION

                                                                      Filing Other        ATTACHMENT A AFFIDAVIT   Protected
                                                                                          IN SUPPORT OF PEOPLES
                                                                                          VERIFIED COMPLAINT AND
                                                                                          MOTION TO REVOKE
                                                                                          UNSUPERVISED
                                                                                          PROBATION

    N/A (Details)   05/01/2023 Non-Party    N/A           Non-Party   Return Mail         NOT DELIVERABLE TO       Public
                    12:00 AM                                                              ASHLEY DANIELLE
                                                                                          HERNANDEZ; ORDER
                                                                                          RESTITUTION PAYOUT
                                                                                          ORDER; FILED 041923

    N/A (Details)   04/19/2023 Catherine    El Paso       N/A         Order              Order:RESTITUTION        Public
                    5:25 AM    Diane        County                                        PAYOUT ORDER
                               Mitchell
                               Helton

    N/A (Details)   03/28/2023 Non-Party    N/A           Non-Party   Return Mail         NOT DELIVERABLE TO       Public
                    12:00 AM                                                              ASHLEY D HERNANDEZ;
                                                                                          Order: Proposed Order
                                                                                          Mandated Costs Payout;
                                                                                          FILED 032123




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                                                         Filing                                                            Document
    Filing ID       Date Filed   Authorizer Organization Party         Document                  Document Title            Security

    N/A (Details)   03/21/2023 Catherine    El Paso        N/A         Order                    Order:Proposed Order      Public
                    7:09 AM    Diane        County                                               Mandated Costs Payout
                               Mitchell
                               Helton

    F4BED1C8B7628   02/27/2023 Keeley       4th Judicial   The         Proposed Order           Proposed Order Mandated   Public
                    11:12 AM   Alexandra    District       People of                             Costs Payout
                               Deback       Attorneys      the State
                                            Office         of          Motion                    Motion Mandated Costs     Public
                                                           Colorado                              Payout

    N/A             02/27/2023 N/A          N/A            N/A         JTRL Dispo - Trial Not    N/A
                                                                       Held

    N/A (Details)   02/24/2023 Catherine    El Paso        N/A         Plea Agreement            Plea Agreement            Public
                    8:33 AM    Diane        County
                               Mitchell
                               Helton

    N/A (Details)   02/24/2023 Catherine    El Paso        N/A         Order                     Amended Mandatory         Public
                    8:32 AM    Diane        County                                               Protection Oder
                               Mitchell
                               Helton

    N/A             02/23/2023 N/A          N/A            N/A         Minute Order - Print      N/A

    N/A             02/23/2023 N/A          N/A            N/A         Case Closed               N/A

    N/A (Details)   02/21/2023 N/A          N/A            Ashley    Request                     Transcript Request        Public
                    1:59 PM                                Danielle
                                                           Hernandez

    N/A             11/15/2022 N/A          N/A            N/A         Minute Order - No Print   N/A




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                                                         Filing                                                           Document
    Filing ID       Date Filed   Authorizer Organization Party          Document               Document Title             Security

    N/A (Details)   11/11/2022 Catherine    El Paso         N/A         Order                 Order:COURT ORDER RE       Suppressed
                               Diane        County                                             PEOPLES MOTION TO KEEP
                               Mitchell                                                        WITNESSES CONTACT
                               Helton                                                          INFORMATION
                                                                                               CONFIDENTIAL

    37601BEB31137   11/09/2022 Keeley       4th Judicial    The         Motion                 MOTION TO KEEP VICTIMS     Suppressed
                    9:32 AM    Alexandra    District        People of                          CONTACT INFORMATION
                               Deback       Attorneys       the State                          CONFIDENTIAL
                                            Office          of
                                                            Colorado    Proposed Order        COURT ORDER RE PEOPLES     Sealed
                                                                                               MOTION TO KEEP
                                                                                               WITNESSES CONTACT
                                                                                               INFORMATION
                                                                                               CONFIDENTIAL

    CF544CC45E9EC   11/08/2022 Keeley       4th Judicial    The         Notice                 Amended Notice of          Public
                    3:51 PM    Alexandra    District        People of                          Endorsement of Witness - 5
                               Deback       Attorneys       the State
                                            Office          of
                                                            Colorado

    N/A             11/03/2022 N/A          N/A             N/A         Minute Order - Print   N/A
                    12:00 AM

    49B519E4718A7   10/28/2022 Rachel       Colorado        Ashley    Motion                   DEFENSE REQUEST FOR        Public
                    10:14 AM   Blair        Springs         Danielle                           PROSECUTION TO COMPLY
                               Armstrong    Public          Hernandez                          WITH RULE 16
                                            Defenders
                                            Office                      Proposed Order         PROPOSED ORDER RE:         Public
                                                                                               DEFENSE REQUEST FOR
                                                                                               PROSECUTION TO COMPLY
                                                                                               WITH RULE 16



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                                                         Filing                                                             Document
    Filing ID       Date Filed   Authorizer Organization Party          Document                 Document Title             Security

    4A509C34D1714 10/21/2022 Keeley         4th Judicial    The         Notice                   Amended Notice of          Public
                  4:28 PM    Alexandra      District        People of                            Endorsement of Witness -
                             Deback         Attorneys       the State                            #4
                                            Office          of
                                                            Colorado

    N/A             10/04/2022 N/A          N/A             N/A         JTRL Dispo - Continued   N/A
                    12:00 AM

    N/A             09/29/2022 N/A          N/A             N/A         Minute Order - Print     N/A
                    12:00 AM

    N/A (Details)   09/28/2022 Catherine    El Paso         N/A         Order                   Order:Proposed Order re    Public
                    6:00 PM    Diane        County                                               MOTION TO WAIVE
                               Mitchell                                                          DEFENDANTS PHYSICAL
                               Helton                                                            PRESENCE VIA USE OF
                                                                                                 INTERACTIVE AUDIO
                                                                                                 DEVICE OR INTERACTIVE
                                                                                                 AUDIO-VISUAL DEVICE
                                                                                                 PURSUANT TO C.R.C.P. 43

    5B4EE7DC51692   09/28/2022 Rachel       Colorado        Ashley    Motion                     MOTION TO WAIVE            Public
                    9:44 AM    Blair        Springs         Danielle                             DEFENDANTS PHYSICAL
                               Armstrong    Public          Hernandez                            PRESENCE VIA USE OF
                                            Defenders                                            INTERACTIVE AUDIO
                                            Office                                               DEVICE OR INTERACTIVE
                                                                                                 AUDIO-VISUAL DEVICE
                                                                                                 PURSUANT TO C.R.C.P. 43




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                                                         Filing                                                              Document
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                                                                        Proposed Order           Proposed Order re          Public
                                                                                                  MOTION TO WAIVE
                                                                                                  DEFENDANTS PHYSICAL
                                                                                                  PRESENCE VIA USE OF
                                                                                                  INTERACTIVE AUDIO
                                                                                                  DEVICE OR INTERACTIVE
                                                                                                  AUDIO-VISUAL DEVICE
                                                                                                  PURSUANT TO C.R.C.P. 43

    N/A             09/15/2022 N/A          N/A             N/A         Minute Order - Print      N/A
                    12:00 AM

    C342E99F611B6   09/14/2022 Keeley       4th Judicial    The         Response                  People's Response to       Public
                    8:00 PM    Alexandra    District        People of                             Defense's Motion For
                               Deback       Attorneys       the State                             Sanctions
                                            Office          of
                                                            Colorado

    N/A (Details)   08/10/2022 N/A          N/A             Ashley    Request                     Transcript Request         Public
                    8:55 AM                                 Danielle
                                                            Hernandez

    N/A             08/03/2022 N/A          N/A             N/A         Minute Order - No Print   N/A
                    12:00 AM

    21732B9D1AD42 08/01/2022 Rachel         Colorado        Ashley    Motion                      MOTION TO SANCTION         Public
                  11:28 AM   Blair          Springs         Danielle                              FOR RULE 16 VIOLATION
                             Armstrong      Public          Hernandez
                                            Defenders
                                            Office

    B0898A3BCD7E8 07/27/2022 Keeley         4th Judicial    The         Notice                    Amended Notice of          Public
                  8:23 AM    Alexandra      District        People of                             Endorsement of Witness - 3
                             Deback         Attorneys       the State
                                            Office
about:blank                                                                                                                           8/17
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                                                         Filing                                                                  Document
    Filing ID       Date Filed   Authorizer Organization Party         Document                   Document Title                 Security
                                                           of
                                                           Colorado

    3FD69065FF613   06/30/2022 Keeley       4th Judicial   The         Proposed Order            RESTITUTION PAYOUT             Public
                    1:28 PM    Alexandra    District       People of                              ORDER
                               Deback       Attorneys      the State
                                            Office         of
                                                           Colorado

    234A5F3625147   06/30/2022 Keeley       4th Judicial   The         Notice                     Peoples Notice of Released     Public
                    10:10 AM   Alexandra    District       People of                              Exhibits
                               Deback       Attorneys      the State
                                            Office         of
                                                                       Exhibits - Trial/Hearing   People's Exhibits 1, 2, 4-10   Protected
                                                           Colorado

    N/A             06/30/2022 N/A          N/A            N/A         Minute Order - Print       N/A
                    12:00 AM

    N/A (Details)   06/24/2022 Catherine    El Paso        N/A         Verdict                    Verdict                        Public
                    8:44 AM    Diane        County
                               Mitchell
                               Helton

    N/A (Details)   06/24/2022 Catherine    El Paso        N/A         Verdict Form - Accepted    Verdict Form - Accepted        Suppressed
                    8:43 AM    Diane        County
                               Mitchell
                               Helton

    N/A (Details)   06/24/2022 Catherine    El Paso        N/A         Jury Instructions -        Jury Instructions - Accepted Suppressed
                    8:42 AM    Diane        County                     Accepted
                               Mitchell
                               Helton

    N/A (Details)   06/23/2022 Non-Party    N/A            Non-Party   Filing Other               Exhibit Releases 6-21-22       Suppressed
                    11:19 AM

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    46B54D0040899   06/21/2022 Keeley       4th Judicial   The         Proposed Order         Proposed Order to Testify   Public
                    9:46 AM    Alexandra    District       People of                          Under Grant of Immunity-
                               Deback       Attorneys      the State                          Wooden
                                            Office         of
                                                           Colorado    Proposed Order         Proposed Order to Testify   Public
                                                                                              Under Grant of Immunity-
                                                                                              Gilbert

                                                                       Proposed Order         Proposed Order to Testify   Public
                                                                                              Under Grant of Immunity-
                                                                                              Fletcher

    N/A             06/21/2022 N/A          N/A            N/A         JTRL Dispo - Split     N/A
                    12:00 AM                                           Verdict

    N/A             06/21/2022 N/A          N/A            N/A         Minute Order - Print   N/A
                    12:00 AM

    N/A (Details)   06/21/2022              El Paso        N/A         Juror Questions        Juror Questions             Suppressed
                    12:00 AM                County

    N/A (Details)   06/17/2022 Catherine    El Paso        N/A         Order                 Order: People's Motion To   Public
                    2:11 PM    Diane        County                                            Order Testimony Under
                               Mitchell                                                       Grand of Immunity and
                               Helton                                                         Court Order- Granted

    N/A (Details)   06/17/2022 Catherine    El Paso        N/A         Order                 Order: People's Motion To   Public
                    2:11 PM    Diane        County                                            Order Testimony Under
                               Mitchell                                                       Grant of Immunity and
                               Helton                                                         Court Order- Granted

    N/A (Details)   06/17/2022 Catherine    El Paso        N/A         Order                 Order:People's Motion To    Public
                    2:10 PM    Diane        County                                            Order Testimoy Under
                               Mitchell                                                       Grant of Immunity and
                               Helton                                                         Court Order

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5/27/25, 6:44 AM                                            12 ofof22
                                                           Register Actions and Party Information

                                                         Filing                                                        Document
    Filing ID       Date Filed   Authorizer Organization Party       Document               Document Title             Security

    N/A (Details)   06/17/2022 N/A          N/A          The         Motion                People's Motion To Order   Public
                    8:02 AM                              People of                          Testimoy Under Grant of
                                                         the State                          Immunity and Court Order
                                                         of
                                                         Colorado

    N/A (Details)   06/17/2022 N/A          N/A          The         Motion                People's Motion To Order   Public
                    7:55 AM                              People of                          Testimony Under Grand of
                                                         the State                          Immunity and Court Order
                                                         of
                                                         Colorado

    N/A (Details)   06/17/2022 Catherine    El Paso      N/A         Motion                People's Motion To Order   Public
                    7:54 AM    Diane        County                                          Testimony Under Grant of
                               Mitchell                                                     Immunity and Court Order
                               Helton

    N/A (Details)   06/17/2022 Non-Party    N/A          Non-Party   Return of Service      Return of Service          Public
                    7:52 AM

    N/A             06/17/2022 N/A          N/A          N/A         Minute Order - Print   N/A
                    12:00 AM

    N/A             06/15/2022 N/A          N/A          N/A         Minute Order - Print   N/A
                    12:00 AM

    N/A             06/15/2022 N/A          N/A          N/A         CACN                   N/A
                    12:00 AM

    N/A             06/15/2022 N/A          N/A          N/A         CACN                   N/A
                    12:00 AM

    N/A             06/15/2022 N/A          N/A          N/A         CACN                   N/A
                    12:00 AM


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                                                         Filing                                                    Document
    Filing ID       Date Filed   Authorizer Organization Party     Document             Document Title             Security

    N/A (Details)   06/14/2022 Catherine    El Paso      N/A       Order                Amended Order Re:          Public
                    9:34 AM    Diane        County                                      Appointment at State
                               Mitchell                                                 Expense Other Than the
                               Helton                                                   Public Defender in a
                                                                                        Criminal Proceeding

    N/A (Details)   06/14/2022 Catherine    El Paso      N/A       Order                Amended Order Re:          Public
                    9:34 AM    Diane        County                                      Appointment at State
                               Mitchell                                                 Expense Other Than the
                               Helton                                                   Public Defender in a
                                                                                        Criminal Proceeding

    N/A (Details)   06/14/2022 Catherine    El Paso      N/A       Order                Order Re: Appointment of   Public
                    9:24 AM    Diane        County                                      Counsel at State Expense
                               Mitchell                                                 Other Than the Public
                               Helton                                                   Defender in a Criminal
                                                                                        Proceeding

    N/A (Details)   06/14/2022 Catherine    El Paso      N/A       Order                Order Re: Appointment of   Public
                    9:20 AM    Diane        County                                      Counsel at State Expense
                               Mitchell                                                 Other Than the Public
                               Helton                                                   Defender in a Criminal
                                                                                        Proceediong

    N/A (Details)   06/14/2022 Catherine    El Paso      N/A       Order                Order Re: Appointment of   Public
                    9:16 AM    Diane        County                                      Counsel at State Expense
                               Mitchell                                                 Other Than the Public
                               Helton                                                   Defender in a Criminal
                                                                                        Proceeding

    N/A (Details)   06/14/2022              El Paso      N/A       Jury Seating Chart   Jury Seating Chart-Final   Suppressed
                    8:10 AM                 County

    N/A (Details)   06/14/2022              El Paso      N/A       Jury Seating Chart   Jury Seating Chart-        Suppressed
                    8:10 AM                 County                                      Proposed
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                                                         Filing                                                             Document
    Filing ID       Date Filed   Authorizer Organization Party         Document               Document Title                Security

    N/A (Details)   06/14/2022              El Paso        N/A         Jury                  Jury                           Sealed
                    8:09 AM                 County                     Summons/Questionnaire Summons/Questionnaire

    N/A (Details)   06/14/2022              El Paso        N/A         Bailiff Report         Bailiff Report                Suppressed
                    8:01 AM                 County

    N/A             06/14/2022 N/A          N/A            N/A         Minute Order - Print   N/A
                    12:00 AM

    N/A             06/13/2022 N/A          N/A            N/A         Minute Order - Print   N/A
                    12:00 AM

    360FEBEC4E3D4   06/10/2022 Rachel       Colorado       Ashley    Motion in Limine         Motion in Limine-corrected    Protected
                    2:53 PM    Blair        Springs        Danielle
                               Armstrong    Public         Hernandez
                                            Defenders
                                            Office

    CB03E82F53C11   06/10/2022 Rachel       Colorado       Ashley    Motion in Limine         Motion in Limine              Protected
                    2:11 PM    Blair        Springs        Danielle
                               Armstrong    Public         Hernandez
                                            Defenders
                                            Office

    FE73ECE0E6050   06/10/2022 Keeley       4th Judicial   The         Filing Other           Joint Statement of the Case   Protected
                    12:15 PM   Alexandra    District       People of
                               Deback       Attorneys      the State
                                            Office         of
                                                           Colorado

    N/A             06/02/2022 N/A          N/A            N/A         Minute Order - Print   N/A
                    12:00 AM

    F98A40544B877   05/09/2022 Rachel       Colorado       Ashley      Notice                 Notice of Endorsement of      Public
                    11:09 AM   Blair        Springs        Danielle                           Witnesses and Defenses

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                                                         Filing                                                            Document
    Filing ID       Date Filed   Authorizer Organization Party          Document                 Document Title            Security
                                 Armstrong   Public         Hernandez
                                             Defenders
                                             Office

    N/A (Details)   04/13/2022 Catherine     El Paso        N/A         Order                    Case Management Order     Public
                    2:31 PM    Diane         County                                              for Criminal Cases
                               Mitchell
                               Helton

    7C1CE195FA3F6   04/04/2022 Keeley        4th Judicial   The         Notice                   Amended Notice of         Public
                    9:13 AM    Alexandra     District       People of                            Endorsement of Witness #2
                               Deback        Attorneys      the State
                                             Office         of
                                                            Colorado

    N/A             02/03/2022 N/A           N/A            N/A         Minute Order - Print     N/A

    7E8623B95E1D0   01/27/2022 Kelson        4th Judicial   The         Notice                   Amended Notice of         Public
                    11:29 AM   Alexander     District       People of                            Endorsement of Witness #1
                               Castain       Attorneys      the State
                                             Office         of
                                                            Colorado

    N/A             01/14/2022 N/A           N/A            N/A         JTRL Dispo - Continued   N/A

    N/A             01/06/2022 N/A           N/A            N/A         Minute Order - Print     N/A

    N/A             10/18/2021 N/A           N/A            N/A         JTRL Dispo - Continued   N/A
                    12:00 AM

    N/A             10/14/2021 N/A           N/A            N/A         Waiver of Speedy Trial   N/A
                    12:00 AM

    N/A             10/14/2021 N/A           N/A            N/A         Minute Order - Print     N/A
                    12:00 AM


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5/27/25, 6:44 AM                                              16 ofof22
                                                             Register Actions and Party Information

                                                         Filing                                                             Document
    Filing ID       Date Filed   Authorizer Organization Party         Document                  Document Title             Security

    DA51D0137312E 09/15/2021 Rachel         Colorado       Ashley    Notice                      Notice of Endorsement of   Public
                  9:47 AM    Blair          Springs        Danielle                              Witness
                             Armstrong      Public         Hernandez
                                            Defenders
                                            Office

    N/A             09/13/2021 N/A          N/A            N/A         Minute Order - No Print   N/A
                    12:00 AM

    N/A             07/12/2021 N/A          N/A            N/A         JTRL Dispo - Continued    N/A
                    12:00 AM

    N/A             06/10/2021 N/A          N/A            N/A         Minute Order - Print      N/A
                    12:00 AM

    N/A             06/10/2021 N/A          N/A            N/A         Waiver of Speedy Trial    N/A
                    12:00 AM

    N/A             04/05/2021 N/A          N/A            N/A         JTRL Dispo - Continued    N/A
                    12:00 AM

    N/A             03/04/2021 N/A          N/A            N/A         Waiver of Speedy Trial    N/A

    N/A             03/04/2021 N/A          N/A            N/A         Minute Order - Print      N/A

    B008A94FA123C   12/30/2020 Jenna Ruth   4th Judicial   The         Notice                    Notice of Endorsement of   Public
                    9:54 AM    Martin       District       People of                             Witness
                                            Attorneys      the State
                                            Office         of
                                                           Colorado

    N/A             12/02/2020 N/A          N/A            N/A         Minute Order - Print      N/A

    N/A             11/10/2020 N/A          N/A            N/A         Minute Order - Print      N/A



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5/27/25, 6:44 AM                                                17 ofof22
                                                               Register Actions and Party Information

                                                         Filing                                                               Document
    Filing ID       Date Filed   Authorizer Organization Party           Document                 Document Title              Security

    8DFAF6F3F404B   10/09/2020 Casey W        Colorado       Ashley    Application - CAC/State    Application - Court         Suppressed
                    2:39 PM    Fleming        Springs        Danielle  Paid Professional          Appointed Counsel
                                              Public         Hernandez
                                              Defenders
                                              Office

    N/A             10/07/2020 N/A            N/A            N/A         Minute Order - Print     N/A
                    12:00 AM

    6AF6CEB64E284   10/06/2020 Jeffrey Lee    4th Judicial   The         Felony Complaint Filed   Complaint and Information   Protected
                    1:41 PM    Albright Jr.   District       People of
                                              Attorneys      the State
                                              Office         of
                                                             Colorado

    N/A (Details)   09/29/2020 N/A            N/A            Ashley    Return Mail                NOT DELIVERABLE;            Public
                    12:00 AM                                 Danielle                             BONDED ADVISEMENT
                                                             Hernandez                            PACKET; FILED 092120;

    N/A (Details)   09/24/2020 Douglas J      El Paso        N/A         Order                    Mandatory Protection        Protected
                    2:38 PM    Miles          County                                              Order 18-1-1001

    N/A (Details)   09/24/2020 Douglas J      El Paso        N/A         Filing Other             Felony Bonded Rule 5        Protected
                    2:37 PM    Miles          County                                              Advisement

    N/A             09/24/2020 N/A            N/A            N/A         Return of Service -      N/A
                    12:00 AM                                             Protection Order

    N/A             09/24/2020 N/A            N/A            N/A         Mandatory Protection     N/A
                    12:00 AM                                             Order Granted

    N/A             09/24/2020 N/A            N/A            N/A         Minute Order - Print     N/A
                    12:00 AM




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5/27/25, 6:44 AM                                               18 ofof22
                                                              Register Actions and Party Information

                                                            Filing                                                              Document
    Filing ID          Date Filed   Authorizer Organization Party         Document                  Document Title              Security

    N/A (Details)      09/21/2020 Douglas J    El Paso        N/A         Filing Other              BONDED ADVISEMENT           Public
                       12:39 PM   Miles        County                                               PACKET

    N/A (Details)      09/21/2020 N/A          N/A            Ashley    Waiver of Extradition       Waiver of Extradition       Public
                       9:27 AM                                Danielle
                                                              Hernandez

    N/A (Details)      09/21/2020 N/A          N/A            Ashley    Appearance Bond             Appearance Bond - $2,000    Public
                       9:27 AM                                Danielle
                                                              Hernandez

    N/A (Details)      09/21/2020 Non-Party    N/A            Non-Party   Report                    Jail Booking Report 9/19/20 Protected
                       9:27 AM

    N/A (Details)      09/21/2020 Non-Party    N/A            Non-Party   Affidavit in Support of   $2,000 Bond - Prelim Info   Protected
                       9:26 AM                                            Warrantless Arrest        w/Probable Cause



   Party Information
    Party Name                   Party Type              Party Status     Attorney/Paraprofessional Name

    Ashley Danielle              Defendant               Active           N/A
    Hernandez

    Ashley Danielle Zubiate      AKA                     Active           N/A

    The People of the State of   People                  Active           N/A
    Colorado




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                                                                DATE FILED: June 9, 2024 7:25 PM
     District Court, El Paso County, Colorado                   CASE NUMBER: 2023CR4830
     270 South Tejon Street, Colorado Springs, CO 80903

     THE PEOPLE OF THE STATE OF COLORADO

     v.
                                                                          Case No. 23CR4830
     ASHLEY HERNANDEZ, aka BLACKCLOUD, Defendant

           ORDER RE MOTION TO DISMISS ON FIRST AMENDMENT GROUNDS

           This case is before the court on Ms. Blackcloud’s motion to dismiss on First Amendment
     grounds. The parties filed motions and presented evidence and argument at a hearing held on
     June 5, 2024. The court, having reviewed the pleadings, evidence and arguments of the
     parties, rules as follows.

     Procedural Facts

            Ms. Blackcloud is charged, in an amended complaint, with one count of Retaliation
     Against a Judge, alleged to have occurred on or about October 3, 2023, as follows:

           Ashley Hernandez [aka Trinity Blackcloud] unlawfully, feloniously, and
           knowingly, as retaliation or retribution against Diana May, a judge who has served
           or is serving in a legal matter assigned to the judge involving the defendant or a
           person on whose behalf the defendant is acting, made a credible threat against or
           upon Diana May, the judge; in violation of section 18-8-615(1), C.R.S.

            The incident that forms the basis of the charges in this case took place on October 3,
     2023, in a public elevator in the El Paso County Judicial Complex, into which Ms. Blackcloud
     first entered, followed by Judge May.

     Law

             Section 18-8-615 (1)(a), C.R.S., provides that an individual commits retaliation
     against a judge if the individual makes a credible threat, as defined in section 18-3-602 (2)(b),
     C.R.S.

             Section 18-3-602(2)(b), C.R.S., provides that “credible threat” means a threat,
     physical action, or repeated conduct that would cause a reasonable person to be in fear for the
     person’s safety or the safety of his or her immediate family or of someone with whom the
     person has or has had a continuing relationship. The threat need not be directly expressed if
     the totality of the conduct would cause a reasonable person such fear.
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           The court accepts the parties’ agreement on the definition of true threats, as set forth
     in Counterman v. Colorado, supra @ 2114: “True threats are ‘serious expression[s]’
     conveying that a speaker means to commit an act of unlawful violence.” Reply, ¶ 3.

     Evidence

             The record before the court consists of (1) the uncontested allegations of facts set forth
     in the motion, response and reply, and (2) the audio recording of the incident in the elevator
     that was played and entered into evidence at the pre-trial motions hearing. The People do not
     claim to have any other evidence to support the charge against Ms. Blackcloud.

             The court incorporates the statements attributed to Ms. Blackcloud in the People’s
     response to the motion, as if fully set forth here. (The remarks in quotations in ¶ 5 of the
     People’s Response appear to be attributed to Derrick Bernard and are not relevant to this
     court’s analysis. The meaning and relevance of the People’s partial statement in ¶12 – “The
     Defendant . . . was on the receiving end of the threat made to Judge Diana May” – is unclear,
     and therefore is not considered.)

     Analysis

            If the court were assessing the sufficiency of the complaint without applying a First
     Amendment analysis, the charge appears to be facially sufficient to support this prosecution.
     But viewing the charge in the light of constitutional concerns, as the alleged threat here
     involves speech, leads to a different conclusion.

             The analysis that must be applied to determine whether the “credible threat” alleged
     to have been made by Ms. Blackcloud is a “true threat of violence” that is outside the bounds
     of First Amendment protection and punishable as a crime, requires proof of (1) a credible
     threat being made by Ms. Blackcloud, (2) her subjective understanding of the threatening
     nature of those statements, (3) satisfied by a mental state of recklessness. Otherwise, her
     statements are protected speech under the First Amendment, and she may not be criminally
     punished for that speech. People v. Counterman, 600 U.S. 66, 69, 143 S.Ct. 2106, 2111
     (2023).

            At this pretrial stage, the court might find itself without sufficient information to enter
     a dispositive order, requiring instead that the matter proceed to trial to enable an evaluation
     of whether the evidence presented were sufficient to require the fact finder to make the final
     determination. But sufficient evidence has been provided to the court by the parties from
     which it may enter a dispositive ruling.

     Findings

            The incident was very brief, spanning only the time it took for a short, non-stop ride
     on the public courthouse elevator, during which only Ms. Blackcloud and Judge May were
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     present. (While there is an elevator for judges only, Judge May used the public elevator.) The
     recording of the incident reflects that Ms. Blackcloud’s speech initially sounded very light
     and pleasant, but at the end was much more terse and confrontive. Judge May’s voice sounded
     slightly hesitant and calculated, and she became resistant to engaging in any conversation.
     The entirety of the statements made by Ms. Blackcloud that are the subject of this analysis are
     set forth in the motion, response and reply.

     Legal Analysis

             Although the court endorses the parties’ agreement that “[t]rue threats are ‘serious
     expression[s]’ conveying that a speaker means to commit an act of unlawful violence,”
     Counterman v. Colorado, 143 S. Ct. @ 2114, the court disagrees with the People’s position
     that, “The existence of a threat depends not on ‘the mental state of the author,’ but on ‘what
     the statement conveys’ to the person on the other end.” Response, at ¶ 9. That the People must
     prove a mens rea of recklessness was precisely what Counterman held, to guard against an
     unconstitutional “chilling” of First Amendment rights to free speech that would result with an
     objective standard that focused only on the perception of the listener.

              Here, the Prosecution has the burden of proving that Ms. Blackcloud (1) directed true
     threats toward Judge May, and (2) had a subjective understanding of the threatening nature of
     her statements, and (3) recklessly disregarded the fact that her statements were threatening.
     The evidence the People intend to offer to prove the criminal charge against Ms. Blackcloud
     falls far short of supporting a finding that her statements directed toward Judge May contained
     threats of violence. It also lacks support for a finding that Ms. Blackcloud had a subjective
     understanding of the threatening nature of her statements. Perhaps the reason for the latter –
     no evidence to support the mens rea of recklessness – is precisely because no threats were
     uttered. This does not mean to say that Ms. Blackcloud’s attitude and words during the
     interaction were not inappropriate and disrespectful of Judge May, or that Judge May did not
     feel that she or her family were threatened. But those issues are not before the court in this
     criminal prosecution. Avoiding the overbroad chilling effect on one’s constitutional right to
     free speech is what the Court addressed in Counterman. Applying the principles set forth in
     that case may, as recognized by the Court, “shield some otherwise proscribable (here,
     threatening) speech because the State cannot prove what the defendant thought. But the added
     element [requiring the People to prove the Defendant’s mens rea] reduces the prospect of
     chilling fully protected expression.” Counterman at 75.

     Conclusion

           The People do not have sufficient evidence to support a finding that Ms. Blackcloud
     made threats toward Judge May that constituted true threats, nor that Ms. Blackcloud
     understood and recklessly disregarded the threatening nature of those communications.
     Therefore, the First Amendment and Fourteenth Amendment to the United States
     Constitution, and Article II, § 10 of the Colorado Constitution, dictate a finding that the
     statements Ms. Blackcloud made to Judge May on October 3, 2023, in the public elevator in
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     the El Paso County Judicial Complex, are protected speech, and the charge against her is
     unconstitutional as applied.

     Order

          The case is dismissed.

      Dated: 09 June 2024

      BY THE COURT:


    ____________________________________
     Dinsmore Tuttle, Senior Judge
